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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
Vv. Case No. 23-CR-196-JFH

JUAN ANTONIO DURAN,

Defendant.

Plea Agreement

The United States of America, by and through Clinton J. Johnson, United States
Attorney for the Northern District of Oklahoma, and John Brasher and Kenneth
Elmore, Assistant United States Attorney, and the defendant, JUAN ANTONIO
DURAN, in person and through counsel, Jason Perkins, respectfully inform the
Court that they have reached the following plea agreement.

Is Plea

The defendant agrees to enter voluntary pleas of guilty to the following:
COUNT ONE: 18 U.S.C. §§ 933(a)(1), 933(a)(3), and 933(b) — Firearms

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COUNT FOUR: 18 U.S.C. § 932(b) and 932(c)(1) — Straw Purchasing a Firearm
as set forth in the Superseding Indictment in the instant case, Northern District of
Oklahoma, and admits to being in fact guilty as charged in the counts to which the

defendant is pleading guilty.

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2. Wai € Constitutional Rist
The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:
a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;

c. the right to be tried by a jury, or, with the consent of the government, to be
tried by a judge;

d. the right to an attorney at trial, including a court-appointed attorney if the
defendant could not afford an attorney;

e. the right to assist in the selection of the jury;

f. the right to be presumed innocent, and to have the jury instructed that the
government bears the burden to prove the defendant guilty beyond a reasonable
doubt and by a unanimous verdict;

g. the right to confront and cross-examine witnesses against the defendant;

h. the right to testify on their own behalf and present witnesses in their
defense;

i. the right not to testify, and to have the jury instructed that the decision not
to testify could not be used against the defendant;

j. the right to appeal a guilty verdict to determine if any errors had been
committed during trial that would require either a new trial or a dismissal of the
charges;

k. the right to have a jury determine beyond a reasonable doubt any facts that
could increase any mandatory minimum or maximum sentence; and

1. any rights and defenses under the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution to the forfeiture of property in this
proceeding or any related civil proceeding, special or other assessment, and any
order of restitution.

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By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant understands that they may have to answer questions posed by
the Court, both about the rights that the defendant will be giving up and the factual

basis for the defendant’s plea.

3. Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees to the following
terms:

a. The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
3742(a) to directly appeal the conviction and sentence, including any fine,
assessment, forfeiture, restitution order, term or condition of supervised release,
or sentence imposed upon a revocation of supervised release; except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory
maximum;

b. The defendant expressly acknowledges and agrees that the government
reserves all rights to appeal the sentence;

c. The defendant waives the right to appeal from the district court’s denial of
any post-conviction motion to reduce the term of supervised release or probation
under 18 U.S.C. §§ 3583(e)(1) or 3564(c); and

d. The defendant waives the right to collaterally attack the conviction and
sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
for claims of ineffective assistance of counsel.

The defendant expressly acknowledges that counsel has explained his appellate
and post-conviction rights; that the defendant understands his rights; and that the

defendant knowingly and voluntarily waives those rights as set forth above.

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4, Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

5. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all the rights afforded under Rule
11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent
proceeding, including a criminal trial, the following shall be admissible against the
defendant under Rule 801(d)(2)(A) of the Federal Rules of Evidence:

a. A guilty plea which is later withdrawn or that the defendant seeks to
withdraw;

b. The facts that the defendant has admitted under this plea agreement, as
well as any facts to which the defendant admits in open court at the plea hearing,
and any statement made in any proceeding under Rule 11 regarding this plea
agreement; and

c. Any statement made during plea discussions with an attorney or agent for

the government, or that were made pursuant to a proffer letter agreement, that
resulted in a plea of guilty that is later withdrawn.

6. Payment of Monetary Penalties

a. Enforcement

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1) The defendant waives any defense or objection to any action to enforce
the collection of financial obligations to be imposed in connection with this
prosecution, including, but not limited to, collection procedures authorized by
the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
U.S.C. § 3664, or 18 U.S.C. § 3613.

2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
monetary penalties or restitution imposed by the Court will be due and
payable immediately and subject to immediate enforcement by the United
States. If the Court imposes a schedule of payments, the defendant agrees that
the schedule is a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the
judgment.

3) The defendant waives any requirement for demand of payment on any
fine, restitution, or assessment imposed by the Court.

4) The defendant agrees that any unpaid obligations will be submitted to
the United States Treasury for offset, so that any federal payment or transfer of
returned property the defendant receives may be applied to federal debts and
will not be limited by a payment schedule.

5) The defendant agrees that any restitution debt may not be discharged in
any bankruptcy proceeding.

b. Disclosure of Financial Information

1) The defendant agrees to provide complete information regarding all
victims potentially entitled to restitution.

2) The defendant agrees to provide truthful and complete financial
information, as requested by the United States Probation Office for the
preparation of the presentence report.

3) The defendant agrees to complete, under penalty of perjury, the
required financial statement form not later than two weeks after the defendant
enters a guilty plea. The defendant agrees to update any material changes in
circumstances, as described in 18 U.S.C. § 3664(k), within seven days of the
event giving rise to the changed circumstances.

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4) The defendant agrees to submit, before and after sentencing, to
depositions and interviews regarding the defendant’s financial status, as
deemed necessary by the United States Attorney’s Office.

5) The defendant authorizes the United States Attorney’s Office to obtain
the defendant’s credit report. The defendant also agrees to provide waivers,
consents, or releases, valid for 120 days after sentencing, to allow the U.S.
Attorney’s Office to access records to verify financial information.

6) The defendant authorizes the United States Attorney’s Office to inspect
and copy all financial documents and information held by the U.S. Probation
Office.

7) The defendant’s failure to timely and accurately complete and sign the
financial statement, and any necessary updates, may, in addition to any other

penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
§ 3E1.1.

8) The defendant agrees to pay the special assessment within 10 days of
sentencing and to provide proof of that payment.

7. Special Assessment

The defendant hereby agrees to pay the total Special Monetary Assessment ($100
per felony count) to the United States District Court Clerk before the sentencing
hearing or as otherwise directed by the District Court.

8. Factual Basis and Elements

To convict defendant under 18 U.S.C. §§ 933(a)(1), 933(a)(3), and 933(b), the

government must prove the following elements beyond a reasonable doubt:

1. That the defendant knowingly agreed or conspired with at least one other person
to ship, transport, transfer, cause to be transported or dispose of a firearm to another
person in or otherwise affecting interstate commerce, knowing or having reasonable
cause to believe that the use, carrying, or possession of the firearms by the recipient
would constitute a felony, to wit 18 U.S.C. § 922(a)(5)- transferring a firearm to an
out of state resident;

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2. That the defendant knew of the unlawful purpose of the agreement and joined in it
willfully, that is, with intent to further its unlawful purpose.

3.There was interdependence among the members of the conspiracy; that is, the
members, in some way or manner, intended to act together for their shared mutual
benefit within the scope of the conspiracy charged.

The elements of 18 U.S.C. § 922(a)(5) are:

1. Neither the defendant nor the recipient of the firearm(s) were licensed importers,
manufactures, dealers, or collectors;

2. The defendant willfully transferred the firearm(s) to another person; and

3. The defendant knew or had reasonable cause to believe that the person to whom
he transferred the firearm resided in a state other than the defendant’s state of
residence.

United States v. Tyson, 653 F.3d 192, 205 (3d Cir. 2011)
With regard to the factual basis required by Federal Rule of Criminal Procedure

11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea

of guilty and relieves the United States of any further obligation to adduce such

evidence.

To convict defendant under 18 U.S.C. § 932(b) and 932(c)(1), the government

must prove the following elements beyond a reasonable doubt:

—

That the defendant knowingly purchased a firearm;
2. That the purchase of the firearm was in or otherwise affecting interstate
commerce;

3. That the purchase of the firearm was made on behalf of, or at the request or
demand of another person; and

4, That the defendant knew or had reasonable cause to believe that the person he
was purchasing the firearm for was/intended to use, carry, possess, or sell or

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otherwise dispose the firearm in furtherance of a felony to wit: 18 U.S.C. §
922(a)(5) - transferring a firearm to an out of state resident;.

The elements of 18 U.S.C. § 922(a)(5) are:

1. Neither the defendant nor the recipient of the firearm(s) were licensed
importers, manufactures, dealers, or collectors;

2. The defendant willfully transferred the firearm(s) to another person; and

3. The defendant knew or had reasonable cause to believe that the person to
whom he transferred the firearm resided in a state other than the defendant’s state of
residence.

United States v. Tyson, 653 F.3d 192, 205 (3d Cir. 2011)

With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such
evidence.

The defendant, JUAN ANTONIO DURAN, admits to knowingly, willfully and
intentionally committing or causing to be committed the acts constituting the crimes
alleged in Counts One and Four in the instant case, and confesses to the Court that
the defendant is, in fact, guilty of such crimes.

I, JUAN ANTONIO DURAN, admit that from October of 2022,
through May of 2023, I was part of a firearms trafficking group that
consisted of Cesar David LOPEZ, Jose Nicolas FLORES and others.
The purpose of the group was to acquire Barrett .50 caliber rifles and
other large caliber rifles, including a FN Scar .308, from across the United
States, bring them to Tulsa, Oklahoma, to be repackaged to help facilitate
the firearms being sent out of state to others.

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I had purchased numerous firearms for this purpose and was worried
about alerting law enforcement, so I conspired with others to purchase
firearms for other people with money I was provided. For each of the
following dates, before we entered the store, I gave a large sum of cash to
other members of the group to pay for the rifles. I knew they filled out
the ATF paperwork for the rifles and indicated on the form that they were
the intended transferee/buyer of the firearms. I knew they were not and
they filled out the paperwork at my direction for the following dates.

On October 22, 2022, I went with LOPEZ to Sports World, in Tulsa
Oklahoma, a licensed firearms dealer. | gave LOPEZ a sum cash and
directed him to purchase a FN Scar .308 caliber rifle. I took possession
of the firearm and facilitated it being illegally transferred to others in
Texas.

On December 3, 2022, I traveled with LOPEZ from Tulsa to Ft. Worth,
Texas, to pick up a large amount of cash to purchase firearms for others.
On December 5, 2022, we drove from Tulsa, Oklahoma, to Grimes,
Iowa. We went to Battle Hawk Armory, a licensed firearms dealer, for
the purpose of purchasing Barrett .50 caliber rifles. LOPEZ and I drove
the rifles back to Tulsa, Oklahoma. We repackaged the rifles and then
drove them to Ft. Worth, Texas. We delivered the rifles to a male in a
black pickup truck who was not a licensed importer, manufacture, dealer
or collector.

On December 7, 2022, LOPEZ and I drove from Tulsa, Oklahoma back
to Battle Hawk Armory in Grimes, Iowa. I gave LOPEZ a sum of cash
to purchase one Barret .50 caliber rifle. We drove the rifle back to my
house in Tulsa, Oklahoma, to conceal it until the rifle could be
transferred to other out of state people.

In April of 2023, LOPEZ, FLORES and I drove from Tulsa, Oklahoma

to Battle Hawk Armory in Grimes, Iowa. I gave LOPEZ a sum of cash P
to purchase three Barrett .50 caliber rifles 1 [led out the ATF paperwork )
indicating that Awwas the intended tranSferee/buyer of the firearms. I =
knew I was not. We drove the rifles back to my house in Tulsa,
Oklahoma to be repackaged. We then drove the four firearms to Ft.
Worth, Texas to give them to another person. That person did not show
up so we drove the four firearms back to Tulsa, Oklahoma. I was directed
by someone speaking in Spanish to deliver the four firearms to a house
in Tulsa. We loaded the firearms into a car and delivered them to a house
in Tulsa as directed by the person on the phone.

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I am not a licensed importer, manufacture dealer or collector and I knew
that the recipient of the firearms that I transferred to others in Texas and

elsewhere were also not a licensed importers, manufactures, dealers or

collectors.
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JUAN AN TONIO DURAN Date
Defendant

9, Farther Prosecution

The United States shall not initiate additional criminal charges against the
defendant in the Northern District of Oklahoma that, as of the date of the
defendant’s acceptance of this agreement, arise from its investigation of the
defendant’s actions and conduct giving rise to the instant Indictment. The defendant
understands, however, that this obligation is subject to all “Limitations” set forth
below, and that the United States Attorney’s Office for the Northern District of
Oklahoma is free to prosecute the defendant for any illegal conduct (i¢., violation of
federal criminal laws) not discovered by or revealed to the government before the

date of this agreement or occurring after the date of this agreement.

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If the Court finds the defendant’s pleas of guilty to be freely and voluntarily made
and accepts the pleas, then the United States will move, at the appropriate time, to
dismiss the remaining counts in the instant case, if any, as to this defendant.

If the defendant’s guilty pleas are rejected, withdrawn, vacated, or reversed at any
time, any charges that have been dismissed may be reinstated or re-presented to a
grand jury, and the government will be free to prosecute the defendant for all
charges. Under these circumstances, the defendant waives any right to argue that the
Double Jeopardy clause bars the defendant’s federal prosecution, as well as any
objections, motions, or defenses based upon the applicable statute of limitations, the
Speedy Trial Act, or constitutional restrictions as to the timeliness of any renewed
charges.

10. ce ce of Responsibili

Provided the defendant clearly demonstrates acceptance of responsibility, the
government agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the
Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the
defendant’s Guidelines offense level qualifies him for such a reduction. The
sentencing judge is in a unique position to evaluate the acceptance of responsibility,
and the Court will ultimately decide whether to apply any § 3E1.1 reduction for

timely acceptance of responsibility.

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Any agreement to recommend an acceptance-of-responsibility reduction is
contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the government. If the defendant (1) falsely denies, or
makes conflicting statements as to, his involvement in the crimes to which he is
pleading, (2) falsely denies or frivolously contests conduct that the Court determines
to be relevant conduct as defined in USSG § 1B1.3, (3) willfully obstructs or attempts
to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)
perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)
advances false or frivolous issues in mitigation, the government expressly reserves
the right to withdraw any recommendation regarding acceptance of responsibility

without breaching the agreement.

11. entence
a. Imprisonment

The defendant acknowledges that under 18 U.S.C. §§ 933(a)(1), 933(a)(3), and
933(b) the maximum statutory sentence is 15 years of imprisonment and a fine of not
more than $250,000.

The defendant acknowledges that under 18 U.S.C. § 932(b) and (c)(1) the
maximum statutory sentence is 15 years of imprisonment and a fine of not more than
$250,000.

b. Supervised Release

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Additionally, the defendant is aware, if imprisonment is imposed, that the Court
may include as part of the sentence a requirement that after imprisonment the
defendant be placed on a term of supervised release of no more than three years.

Violation of any condition of supervised release may result in revocation, or
modification of the conditions, of supervised release, which may in turn result in
additional incarceration consistent with 18 U.S.C. § 3583(e).

c. Guidelines

The defendant is aware that the Sentencing Guidelines are advisory. The Court,
while not bound to apply the Sentencing Guidelines, must consult those Guidelines
and take them into account when sentencing.

The defendant is further aware that the Court determines the sentence, that the
Court has not yet done so, and that any estimate of the sentence — received from any
source — is a prediction, not a promise. Regardless of any estimate the defendant has
received, the Court has discretion to impose any sentence up to and including the
statutory maximum.

12. Stipulations
The defendant and the United States agree and stipulate to the following facts:

a. Pursuant to F.R.C.P. Rule 11 (c)(1)(B), the parties agree to jointly
recommend that € at the time of sentencing, the attorney for the government will

recommend a sentence of 80 months for all counts, to run concurrently with each

other and the case out of the NortheraDistrict of Alabama, 24-CR-0002-LSC. The

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parties have considered various factors in fashioning this sentence, including the facts
of this case and strength of the evidence, trial risk for both the government and the
defendant, the defendant’s acceptance of responsibility, the strength of the evidence,
judicial economy, and the interests of justice. This agreed sentence is within the
anticipated guidelines. It is understood that neither the Court nor the United States
Probation Office is bound by the foregoing stipulations, either as to questions of fact
or as to determination of the correct advisory sentencing guideline calculation.

Having been fully apprised by defense counsel of the right to seek compensation
pursuant to Public Law 105-119, the defendant WAIVES any and all such right, and
stipulates that defendant is not a “prevailing party” in connection with this case.

13. Limitations

This plea agreement shall be binding and enforceable upon the Office of the
United States Attorney for the Northern District of Oklahoma, but in no way limits,
binds or otherwise affects the rights, powers, duties or obligations of any state or
local law enforcement agency, administrative or regulatory authorities, civil or
administrative enforcement, collection, bankruptcy, adversary proceedings or suits
which have been or may be filed by any governmental entity, including without
limitation, the Internal Revenue Service, the Tax Division of the Department of

Justice and the trustee in bankruptcy.

14. Breach of Agreement

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In the event either party believes the other has failed to fulfill any obligations
under this agreement, then the complaining party shall, in its discretion, have the
option of petitioning the Court to be relieved of its obligations herein. The Court
shall determine whether a party has completely fulfilled all its obligations under this
agreement in an appropriate proceeding at which any disclosures and documents
provided by either party shall be admissible and at which the complaining party shall
be required to establish any breach by a preponderance of the evidence. If the Court
determines that the defendant has breached the plea agreement, the government may
declare this agreement null and void, and the defendant will be subject to prosecution
for any criminal violation, including but not limited to any crimes or offenses
contained in or relating to the charges in this case, as well as false statement,
obstruction of justice, or any other crime committed by the defendant during this
prosecution.

The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal
Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save
and except if the Court determines that the government has breached the plea
agreement as set forth above. If JUAN ANTONIO DURAN, after entry of a plea of
guilty, unsuccessfully attempts to withdraw that guilty plea, the government may
continue to enforce the agreement but will no longer be bound by any particular
provision in this agreement, unless the Court determines that the government acted

in bad faith to bring about the attempted plea withdrawal.

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15. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea
agreement and the Plea Agreement Supplement that the United States will file in this
case (as it does in every case, even if there are no additional terms) and none will be

entered into unless executed in writing and signed by all of the parties.

SO AGREED:

CLINTON J. JOHNSON
UNITED STATES ATTORNEY

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JOHN BRASHER Dated =
Assistant United States Attorney

ad OSV
JASON PERKINS Dated
Attorney for Defendant
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JUAN ANTONIO DURAN Dated

Defendant

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I have read this agreement and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with
my attorney and fully understand my rights with respect to sentencing which may
apply to my case. No other promises or inducements have been made to me, other
than those contained in this pleading. In addition, no one has threatened or forced
me in any way to enter into this agreement. Finally, I am satisfied with the

representation of my attorney in this matter.

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JUAN ANTONIO DURAN Dated
Defendant

I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Indictment. Further, I have
reviewed the provisions of the Sentencing Guidelines and Policy Statements and I
have fully explained to the defendant the provisions of those Guidelines which may
apply in this case. I have carefully reviewed every part of this plea agreement with

the defendant. To my knowledge, the defendant’s decision to enter into this

agreement is an informed and voluntary one.
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JASON PERKINS _ Dated

Counsel for the Defendant

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